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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII

     CARA BARBER, et al., On Behalf of           CIVIL NO.: 14-00217 HG-KSC
     Themselves And All Others Similarly
     Situated,                                   NOTICE OF CHANGE OF FIRM
                Class Plaintiffs,                AFFILIATION; CERTIFICATE
                                                 OF SERVICE
           vs.

     OHANA MILITARY
     COMMUNITIES, LLC, FOREST
     CITY RESIDENTIAL
     MANAGEMENT, INC.; and DOE                   Judge: Hon. Helen Gillmor
     DEFENDANTS 1-10,

                  Defendants.


                 NOTICE OF CHANGE OF FIRM AFFILIATION
     Pursuant to Local Rule 83.1(h) of the Local Rules of Practice of the United
     States District Court for the District of Hawaii, Counsel Patrick Kyle Smith
     for Plaintiff Cara Barber, et al., in the above captioned matter hereby gives
Case 1:14-cv-00217-HG-RLP Document 384 Filed 10/26/16 Page 2 of 3        PageID #: 7596




     notice of a change of firm affiliation, effective immediately. Counsel’s new
     firm and contact information are as follows:

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     …
     DATED: October 20, 2016

                                                    _____________________
                                                    P. Kyle Smith, Esq.
Case 1:14-cv-00217-HG-RLP Document 384 Filed 10/26/16 Page 3 of 3        PageID #: 7597



                      UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII

     CARA BARBER, et al., On Behalf of          CIVIL NO.: 14-00217 HG-KSC
     Themselves And All Others Similarly
     Situated,
                Class Plaintiffs,

           vs.                                  CERTIFICATE OF SERVICE

     OHANA MILITARY
     COMMUNITIES, LLC, FOREST
     CITY RESIDENTIAL
     MANAGEMENT, INC.; and DOE
     DEFENDANTS 1-10,                           Judge: Hon. Helen Gillmor

                 Defendants.

                          CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the

     foregoing Notice of Change of Firm Affiliation was served upon the parties

     listed below by CM/ECF:

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           Attorneys for Defendants

           DATED: Kailua, Hawaii, this 20th day of October 2016.



                                                  P. KYLE SMITH
